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STATE OF INDIANA
MARION COUNTY SUPERIOR COURT

LISA LATZ CONDES and JIMMY JOHN CASE NO. agent 31 02 pL 005 192

Individually and as Next Best Friends of
YEAHSEN LATZ JOHN, a Minor

Plaintiffs
Vv.

MED-EL CORPORATION, MED-EL FEB 09 2011
ELEKTROMEDIZINISCHE GERATE ; ‘ /

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Defendants. SP THR MANN CRG COUNT

COMPLAINT
Plaintiffs Lisa Latz Condes and Jimmy John individually and as Next Best Friends of

Yeahsen Latz John, a minor, state as follows:

I. PARTIES
1. Plaintiff Lisa Latz Condes is an individual residing in the State of Indiana with

her minor son, Plaintiff Yeahsen Latz John.
2. Plaintiff Jimmy John is an individual residing in the State of Arizona. Mr. John

is the father of Yeahsen.

3. Upon information and belief, Med-El Corporation (“Med-El Corp.”) is a North

' Carolina company that designed, manufactured, and/or sold the cochlear implant that was

implanted into Yeahsen at a hospital in Indiana.

 

 

 

 
 

 

 

 

 

4, Upon information and belief, Med-El Elektromedizinische Gerate (“Med-E!

Austria”) is an Austria company that designed, manufactured, and/or sold the cochlear implant
and went through an approval process in the United States to sell the implant here,’
Il. JURISDICTION AND VENUE

5. This Court has jurisdiction over Defendants under Trial Rules 4.4(A)(1), (3),
and (4) because Med-El does business in the State of Indiana and sold the defective cochlear
implant to be implanted into a patient in the State of Indiana.

IN. YEAHSEN’S FAILED IMPLANT

6. Yeahsen Latz John was born on August 28, 2002, Yeahsen is the son of Lisa
Latz Condes and Jimmy John. Yeahsen was diagnosed as profoundly deaf when he was
approximately three months old.

7. At 12 months old, Yeahsen was approved for cochlear implants. Cochlear
implants are electronic hearing devices that deliver electrical pulses that stimulate nerve fibers
in the cochlea. The auditory nerve transmits the signals to the brain, and the brain interprets
the signals as sound.

| 8. On December 11, 2003, Yeahsen was implanted into his left ear with an
“Implant C40+,” which is the implanted portion of the Med-El COMBI 40+ Cochlear |
Implant System (“COMBI 40+”).? The COMBI 40+ was designed, manufactured, and/or

sold by Med-E1.

 

! For purposes of this Complaint, Plaintiffs will use “Med-EI” to refer to both Med-El Corp. and Med-El Austria.
? Yeahsen’s right car was implanted with an Advanced Bionics HiRes 90K implant. Yeahsen has never had
problems with his right implant, and Advanced Bionics is not part of this lawsuit.

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9. No changes or alterations were made to the COMBI 40+ implanted into
Yeahsen from the time it left Med-E! until the time it was implanted.

10. Sometime beginning in 2006, Yeahsen was experiencing a shocking sensation
from the COMBI 40+. Yeahsen’s learning progress began to slow, and he became less social.
Yeahsen would cry and flinch when a caregiver would attempt to turn the implant on. Yeahsen
screamed in pain and was hard to console after he appeared to be shocked when his Med-El
coil came in contact with his internal magnet. Yeahsen would instinctively pull the coil off his
head. If Yeahsen’s hands were restrained so that he could not pull the coil off, his facial
muscles could be seen twitching.

11. Sometime in 2007, a representative from Med-El examined Yeahsen and

improperly concluded that nothing was wrong with the implant. This representative was

provided information regarding Yeahsen’s symptoms, including marked fluctuations in power,
an unwillingness to wear the external headpiece, an appearance of being shocked, becoming
scared when a caregiver would turn the device on, and a lack of expected progress in speech
and language milestones. The representative did a telemetry test on the implant and incorrectly
determined that it was in good working order. The representative alleged that there was either
a “soft failure” or Yeahsen’s problems were behavioral in nature.

12, On June 8, 2010, the insurance company providing coverage to Yeahsen
approved a replacement cochlear implant. Yeahsen had this surgery on July 15, 2010. Dr.
Fritch performed the surgery and removed the Med-El device. Dr. Fritch found that the
ceramic casing of the Med-El device was shattered. Dr. Fritch opined that cerebral spinal
fluid was getting through the ceramic casing, causing the electrodes of Yeahsen’s implant to

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misfire randomly. The result of the misfiring electrodes caused the pain, loudness, and
twitching Yeahsen suffered. Dr. Fritch shipped the shattered device directly to Med-El.
13. Yeahsen’s COMBI 40+ was defective, causing him to experience excruciating
pain and mental anguish.
IV. FEDERAL REGULATIONS
14. The U.S. Food and Drug Administration (“FDA”) regulates cochlear implants
pursuant to the Federal Food, Drug, and Cosmetic Act (“FFDCA”).

15. According to the FDA’s website, a cochlear implant device looks like this:

 

 

16. The Medical Device Amendments (“MDA”) of the FDCA establish that
cochlear implants are Class III devices, which are the most highly-regulated devices. A Class
Ill device is one that supports or sustains human life or is of substantial importance in
preventing impairment of human health or presents a potential, unreasonable risk of illness or
injury. The MDA established a pre-market approval (“PMA”) application process for Class
II devices. A Class III device sold without the FDA approvals or without following strict

FDA guidelines is considered “adulterated.”

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17. Any modification affecting the safety or effectiveness of an approved device,
including any change of the manufacturing facility, requires supplemental premarket approval.
This includes, but is not limited to, changes in performance, design specifications,
components, and operations.

18. The FDA requires Class III device manufacturers to comply with Current Good
Manufacturing Practices (“CGMP”). Class III devices not satisfying CGMP requirements are
also considered adulterated.

19, The FDA prohibits adulterated devices from entering the stream of commerce.

Vv. THE COMBI 40+

20.  Med-El was responsible for the design, manufacture, assembly, packaging,
warnings, quality, and sale of the COMBI 40+.

21. The FDA issued its approval order for Med-El’s PMA for the COMBI 40+ on
August 20, 2001.

22. The COMBI 40+ that Yeahsen had implanted into his left ear is a cochlear
implant system consisting of the Implant C40+, the TEMPO + Patient Kit, the DIB
(Diagnostic Interface Box) System, the Detector Box, and the Surgical Kit.

23. The implanted portion, the Implant C40+, is implanted under the skin behind
the ear. The Implant C40+ consists of a ceramic housing, an active electrode array that is

inserted into the cochiea during surgery, and a reference electrode, which is placed under the

temporalis muscle.

 

 

 
 

 

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24. The TEMPO+ Patient Kit is a modular system that can be worn entirely at ear
level, though Yeahsen wore it on his shoulder. Yeahsen had plastic surgery to build his ears
so that he could someday wear the device behind his ear.

25. According to Med-E!’s COMBI 40+ package insert, the TEMP + allows an
external microphone to pick up sounds from the environment and sends the sounds to a speech
processor. The speech processor analyzes the sound signal from the microphone according to
the selected speech coding strategy and transforms it into a coded electrical signal that is sent
to the externally worn coil. This coded signal contains information about how to stimulate the
individual electrodes so changes in pitch and loudness can be perceived. The magnetically
~seeured coil sends the coded signal across the-skin-to the implant-package via an inductive link,
The energy necessary for stimulation is also sent via the inductive link. The implant decodes
the signal and sends a corresponding pattern of rapid stimulation pulses to the individual
electrodes on the electrode array. These stimulation pulses travel along the auditory nerve to
the brain, where the brain can categorize the sound and assign meaning.

A true and accurate copy of the Med-El Combi 40+ package insert is attached as
Exhibit A.

VI. MED-EL’S FAILURES

26. Med-El designed, manufactured, and/or sold the COMBI 40+ in a manner that
violated the conditions of the PMA.

27. Based on a June 7 through June 16, 2004 inspection, the FDA issued a warning
letter dated November 16, 2004 to Defendant Med-El] Austria. With regard to cochlear
implants, including the COMBI 40+, the FDA found that Med-El was in violation of the

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FDA’s CGMP requirements of the Quality System Regulations (“QSRs”) pursuant to Title 21

of the Code of Federal Regulations (“CFR”). The following are “significant violations” the

FDA identified:

a.

Failure to establish and maintain procedures to control the design of the
device in order to ensure that specified design requirements are met, as
required by 21 CFR 820.30(a)(1). . . -

Failure to establish and maintain procedures for the identification,
documentation, validation or where appropriate verification, review, and
approval of design changes before their implementation, as required by
21 CFR 830,30(i). .. .

Failure to maintain procedures to ensure that the design requirements
relating to a device are appropriate and address the intended use of the
device including the needs of the user and patient. The procedure shall

- include a mechanism for addressing incomplete, ambiguous, or

conflicting requirements. The design input requirements shall be
documented and shall be reviewed and approved by a designated
individual(s), as required by 21 CFR 820.30(c). .. .

Failure to establish and maintain procedures for validating the device
design, as required by 21 CFR 820.30(g). .. .

Failure to establish and maintain a [Design History File] for each type of
device. The DHF shall contain or reference the records necessary to
demonstrate that the design was developed in accordance with the
approved design plan and the requirements, as required by 21 CFR
820.30(j). . . .

Failure to establish and maintain procedures for defining and
documenting design output in terms that allow an adequate evaluation of
conformance to design input requirements. Design output procedures
shall contain or make reference to acceptance criteria and shall ensure
that those design outputs that are essential for the proper functioning of
the device are identified, as required by 21 CFR 820.30)... .

Failure to establish and maintain procedures to ensure that the device
design is correctly translated into production specifications, as required
by 21 CFR 820.30(h). ...

Failure to establish and maintain data that clearly describe or reference
the specified requirements, including quality requirements, for purchased
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or otherwise received product and services, as required by CFR
820.50(b). . . .

i. Failure to establish and maintain procedures to ensure that all purchased
or otherwise received product and services conform to specified
requirements. Each manufacturer shall establish and maintain the
requirements, including quality requirements, that must be met. by
suppliers, contractors, and consultants. Each manufacturer shall evaluate
and select potential suppliers, contractors, and consultants on the basis of
their ability to meet specified requirements, including quality
requirements, The evaluation shall be documented, as required by 21
CFR 820.5(a)(1). . . .

j. Failure to adequately maintain procedures to ensure that all purchased or
otherwise received product and services conform to specified
requirements by CFR 820.50. . . -

k. Failure to define the type and extent of control to be exercised over the
product, services, suppliers, contractors, and consultants, based on the
evaluation results as required by 21 CFR 820.50(a)(2). . . .

1, Failure to establish and maintain procedures for acceptance for incoming
product. Incoming product shall be inspected, tested, or otherwise
verified as conforming to specified requirements. Acceptance or
rejection shall be documented, as required by 21 CFR 820.80(b).. . .

m. Failure to establish and maintain procedures for analyzing processes,
work operations, concessions, quality audit reports, quality records,
service records, complaints, returned product, and other sources of
quality data to identify existing and potential causes of nonconforming
product, or other quality problems. Appropriate statistical methodology
shall be employed where necessary to detect recurring quality problems,
as required by 21 CFR 820.100(a)(1). . . .

n. Failure to establish and maintain procedures for investigating the cause
of nonconformities relating to product processes, and the quality system,
as required by 21 CFR 820.100(a)(2)....

0. Failure to adequately maintain procedures for implementing corrective
' and preventive action, and failure to document all activities and results
under this section, as required by 21 CFR 820.100(b). . . .

p. Failure to establish and maintain procedures to control product that does
not conform to specified requirements. The procedures shall address the
identification, documentation, evaluation, segregation, and disposition of

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nonconforming product. The evaluation of nonconformance shall
include a determination of the need for an investigation and notification
of the persons or organizations responsible for the nonconformance. The
evaluation and any investigation shall be documented, as required by 21
CFR 820.90(a). . . .

Failure to establish and maintain procedures that define the responsibility
for review and the authority for the disposition of nonconforming
product. The procedures shall set forth the review and disposition
process. Disposition of nonconforming product shall be documented.
Documentation shall include the justifications for use of nonconforming
product and the signature of the individual(s) authorizing the use, as
required by 21 CFR 820.90(b)(1). . . .

Failure to maintain device master records (DMR’s) and to ensure that
each DMR is prepared and approved in accordance with 21 CFR 820.40.

Failure to establish and maintain procedures for identifying valid
statistical techniques required for establishing, controlling, and verifying
the acceptability of process capability and product characteristics where
appropriate, as required by 21 CFR 820.250(a). . . .

Failure to provide procedures addressing the data entry requirements for
transferring information from complaint files to the electronic complaint
database. The database is used for data analysis. When all essential
information from complaints and failure analysis fails to provide the
results of a process, which cannot be fully verified by subsequent
inspection and test, and process shall be validated with a high degree of
assurance and approved according to established procedures as required
by 21 CFR 820.75... .

Failure to adequately establish procedures for quality audits and conduct
such audits to assure that the quality system is in compliance with the
established quality system requirements and to determine the
effectiveness of the quality system as required by 21 CFR 820.22....

A true and accurate copy of the FDA’s November 16, 2004 warning letter is
attached as Exhibit B.

28. This inspection also revealed that the Med-El devices are “misbranded within

the meaning of section 502(t)(2) of the Act... .” Additional “significant deviations” include,

but are not limited to:

 

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a. Failure to provide documentation and recordkeeping information that
facilitates timely follow-up and inspection by FDA, as required by 21
CFR 803.17(b)(1). .. .

b. Failure to provide all DMR information to FDA, as required by 21 CFR
803.50... .

Ex. B at 4.
29, The FDA notified Med-E! that “the inspections revealed that your devices

appear to be adultered within the meaning of section 501(h) of the Act (21 U.S.C. 351(h)), in
that the methods used in, or the facilitates or controls used for, their manufacture, packing,
storage, or installation are not in conformity with the [CGMP] requirements of the [QRS]
found at Title 21, [CFR], Part 820.” The FDA stated that “The specific violations noted in
this letter . . . may be symptomatic of serious underlying problems in your firm’s
manufacturing and quality assurance systems.” The FDA stated that this letter may not be
exhaustive of Med-El’s failures. Ex. B at 1.

30. The FDA also threatened to stop allowing the COMBI 40+ to be imported into

the United States, stating, “Given the serious nature of these violations of the Act, cochlear

 

| implants . . . manufactured by your firm, imported or offered for import are subject to refusal
of admission under section 801(a) of the Act, 21 U.S.C. 381(a), in that they appear to be
adulterated. As aresult, FDA may take steps to refuse these products, known as “detained
without physical examination,” until these violations are corrected.” Ex. B at 4.
31. In addition, the FDA inspected the Med-El plant on March 29 through April 1,
2004 and issued violations of the QRS. Two of those violations were included in the

November 16, 2004 warning letter:

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a. Failure to provide procedures addressing the data entry requirements for
transferring information from complaint files to the electronic complaint
database. The database is used for data analysis. When all essential
information from complaints and failure analysis fails to provide the
results of a process, which cannot be fully verified by subsequent
inspection and test, the process shall be validated with a high degree of
assurance and approved according to established procedures, as required
by 21 CFR 820.75.

b. Failure to adequately establish procedures for quality audits and conduct
such audits to assure that the quality system is in compliance with the
established quality system requirements and to determine the
effectiveness of the quality system as required by 21 CFR 820.22,

Ex. B at 4-5.
32. The FDA urged Med-E] to take prompt action to correct the violations and bring
its products into compliance with the federal laws. Ex, B at 4.

33. The COMBI 40+ was manufactured in violation of PMA specifications and

other federal regulations.

34. The COMBI 40+ was manufactured in violation of CGMP requirements.

35. The COMBI 40-+- was manufactured in violation of the FDA’s QSRs.

36. Upon information and belief, Med-El did not seek supplemental FDA approval

for each modification of the COMBI 40+ or its manufacturing processes.

37. | Yeahsen’s COMBI 40+ and/or its component parts were defective and

adulterated.

38. | Med-El knew or should have known that the COMBI 40+ was defective,

including that the ceramic casing shattered causing injury to its wearers.

39. | Med-El knew or should have known that other cochlear implants manufactured

by other manufacturers were producing similar symptoms in patients. Another manufacturer,

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Advanced Bionics, recently voluntarily recalled a cochlear implant, the HiRes 90K. The
complaints alleged, among other things, included shocking sensations, just like Yeahsen
experienced.
| 40. Upon information and belief, Med-El stopped manufacturing the COMBI 40+
with a ceramic casing because the ceramic casing shattered. Med-El did not communicate this

failure to Plaintiffs, even after Med-El’s representative examined Yeahsen.

Vl. CAUSES OF ACTION
COUNT I - Negligence

41, Plaintiffs incorporate all of the above paragraphs.

42. Med-El owed a duty to Plaintiffs to manufacture the COMBI 40+ with due care
and in compliance with applicable regulations and FDA-approved specifications.

43. Med-El owed a duty to Plaintiffs to avoid foreseeable dangers with the COMBI
40+ by complying with federal laws.

44. Med-El breached its duty by failing to meet the standards set forth in the PMA
process and other féderal laws.

45. | Med-Eli breached its duty by failing to adhere to the standards required by the
FDA, including the CGMP and QSRs.

46. Asa direct and proximate result of Med-El’s negligence, Plaintiffs have been

damaged.

 

COUNT 2 - Defective Product

47. Plaintiffs incorporate all of the above paragraphs.

 

48. Med-El manufactured the COMBI 40+ and put it into the stream of commerce.

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49. There was no substantial change, modification, or alteration of the product after
it left Med-El and was implanted into Yeahsen.

50.  Med-El’s violations of the FDA’s requirements and other federal regulations
resulted in Yeahsen’s COMBI 40+ being defective.

51. |The COMBI 40+ was defective as a result of one or more design,

manufacturing, and/or assembly defects.

 

52. | Med-El knew or should have known that the COMBI 40+ was defective.
53. Plaintiffs have been damaged by Med-E! introducing this defective product into
the stream of commerce.

COUNT 3 — Misrepresentation

 

54, Plaintiffs incorporate all of the above paragraphs.
55. Med-El owed Plaintiffs a duty to disclose the known failures with the COMBI

40+.

 

56. Med-El owed Plaintiffs a duty to disclose that cochlear implant patients had
reported similar problems as Yeahsen reported and that these symptoms are signs of a failure.

57. Med-El misrepresented that the COMBI 40+ was designed, manufactured, and
sold in accordance with all federal regulations and FDA requirements.

58. Med-El violated FDA regulations in reporting device failures.

| 359. When the Med-El representative examined Yeahsen, the representative

 

misrepresented that the device was working properly and did not notify Plaintiffs of the known

| failures of the COMBI 40+ that were causing similar injuries to other wearers.

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60. | Med-El knew or should have known that Yeahsen’s symptoms were indicative
of the COMBI 40+ failing.

61. Plaintiffs relied on each of Med-El’s representations.

62. Plaintiffs have been damaged by Med-El’s misrepresentations.

COUNT 4 - Breach of Express Warranties

63. Plaintiffs incorporate all of the above paragraphs.

64. Med-El issued a “Product Warranty & Service Contract” (“Warranty”) for
Yeahsen’s implant. A true and accurate copy of the Warranty is attached as Exhibit C.

65. Yeahsen filed Med-El’s “Manufacturers Warranty Registration Form.” A true
and accurate copy of the form is attached as Exhibit D.

66.  Med-E also issued a “Client Bill of Rights and Responsibilities” (“Bill of
Rights”) that contains express warranties. A true and accutate copy of the Bill of Rights is
attached as Exhibit E.

67. | Med-El also made express warranties in its Package Insert. Ex. A.

68. | Med-~Ei breached its express warranties by representing that the COMBI 40+
was manufactured in accordance with FDA regulations and other federal regulations.

69. Plaintiffs relied on these express warranties.

70. The COMBI 40+ was defective.

71, Med-El violated federal laws by breaching its express warranties and
introducing this defective product into the stream of commerce.

72. Plaintiffs have been damaged by Med-El’s breach of its express warranty.

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IX. DAMAGES

73. Asa direct and proximate result of Med-El’s acts and/or omissions, Plaintiffs
Lisa Latz John and Jimmy John have suffered (or will suffer) the following damages:

a. past and future medical expenses on behalf of Yeahsen;

b. past and future device expenses, including batteries;

c. past and future loss of earnings;

d. past and future travel expenses;

e. past and future therapy appointments; and

f. past and future educational expenses.

74. Asadirect and proximate result of Med-El’s acts and/or omissions, Plaintiff
Yeahsen Latz John has suffered (or will suffer) the following damages:
a. excruciating pain and mental anguish; and

b. loss of crucial language development time.

75. Upon information and belief, a diagnosis of autism was missed because of the
focus on Yeahsen’s hearing issues. Yeahsen also has lost the benefit of early treatment for

autism.

‘VIN, Prayer for Relief
WHEREFORE, Plaintiffs Lisa Latz Condes and Jimmy John individually and as Next

Best Friends of Yeahsen Latz John, a minor, pray that the Court enter judgment in their favor
and against Med-El Corporation and Med-El Elektromedizinische Gerate:

A. requiring Defendants to reimburse Plaintiffs for their past damages, plus
prejudgment interest;

C. —_ requiring Plaintiffs to pay for all future damages;

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E. for all other compensatory damages to which Plaintiffs may be entitled;
F. _ for pre-judgment interest; and
G. __ for all other relief as this Court may deem proper.

Respectfully submitted,

Plews Shadley Racher & Braun LLP

Ktomeys* for a tiffs Lisa Latz Condes and

Jimmy John individually and as Next Best Friends
of Yeahsen Latz John, a minor

Brett E. Nelson (Atty. No. 22096-53)

bnelson@psrb.com
Tonya J. Bond (Atty. No. 24802-49A)

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DEVICE DESCRIPTION

The COMBI 40+ Cochlear Implant System is a cochlear implant system consisting of
the Implant C40+, alt components of the CIS PRO+ Patient Kit, all components of the
TEMPO+ Patient Kit, the DIB (Diagnostic Interface Box) System, the Detector Box, and
the Surgical Kit. The implanted portion, the Implant C40+, is surgically implanted under
the skin behind the ear. [t consists of a ceramic housing, an active electrode array that
is inserted into the cochlea during surgery, and a reference electrode, which is placed
under the temporalis muscle. There are two patient kits for the COMBI 40+ Cochlear
Implant System: the CIS PRO+ Patient Kit and the TEMPO+ Patient Kit. The function
of the patient kits is basically the same: The major difference is that the TEMPO+
Speech Processor is a modular system, which can be worn entirely at ear level, and the

CIS PRO+ Speech Processor is wom on the body.

For both devices, an external microphone picks up sound from the environment and
sends it to the speech processor. The speech processor analyses the sound signal
from the microphone according to the selected speech coding strategy, and transforms
it into a coded electrical signal that is sent to the extemally worn coil. This coded signal
contains information about how to. stimulate the individual electrodes so changes in
pitch and loudness can be perceived. The coil, which is magnetically held in place over
the implant, sends the coded signal across the skin to the implant package via an
inductive link. The energy necessary for stimulation is also sent via the inductive link.
The implant decodes the signal and sends a corresponding pattern of rapid stimulation
pulses to the individual electrodes on the electrode array. These stimulation pulses
travel along the auditory nerve to the brain, where the brain can categorize the sound
and assign meaning. The COMBI 40+ Cochlear Implant System collects sound,
processes the information, delivers instructions to the implant, and stimulates the
electrodes with the appropriate pulse at a speed of up to 18,180 times per second, All
electrode channels of the Implant C40+ are individually capacitively coupled to provide
maximum protection against the accumulation of unintended Direct Current (DC)-
charge.
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INDICATIONS FOR USE

The MED-EL COMBI 40+ Cochlear Implant System, hereinafter referred to as the
COMBI 40+, is intended to provide the opportunity to detect and recognize auditory
information through electrical stimulation of the auditory nerve for severe to profoundly
hearing-impaired individuals who obtain little or no benefit from conventional acoustic

amplification in the best-aided condition.

The COMBI 40+ is indicated for the following patient populations:

Adults of eighteen (18) years of age or older who have bilateral, sensorineural hearing
impairment and obtain limited benefit from appropriately fitted binaural hearing aids.
These individuals typically demonstrate bilateral severe to profound sensorineural
hearing loss determined by a pure tone average of 70 dB or greater at 500 Hz, 1000
Hz, and 2000 Hz. Limited benefit from amplification Is defined by test scores of 40%
correct or less in best-aided listening condition on CD recorded tests of open-set
sentence recognition Hearing In Noise Test sentences (HINT).

Children aged eighteen (18) months to seventeen (17) years eleven (11) months must
demonstrate a profound, bilateral sensorineural hearing loss with thresholds of 90 dB
or greater at 1000 Hz. In younger children, little or no benefit is defined by lack of
progress in the development of simple auditory skills in conjunction with appropriate
amplification and participation in intensive aural habilitation over a three (3) to six (6)
month period. In older children, lack of aided benefit Is defined as < 20% correct on the
Multi-syllabic Lexical Neighborhood Test (MLNT) or Lexical Neighborhood Test (LNT),
depending upon the child's cognitive ability and linguistic skills. A three (3) to six (6)
month hearing aid trial is required for children without previous experience with hearing
aids. Radiological evidence of cochlear ossification may justify a shorter trial with
amplification.

INFORMATION FOR USE
Surgical Considerations:

Complete surgical instructions can be found in the Surgical Manual. All surgeons
planning to implant the Implant C40+ must read the Surgical Manual prior to performing
the surgery. Surgeons must also be experienced in mastoid surgery and the facial
recess approach. The following are some key points covered in the Surgical Manual:

« The most fragile points of a cochlear implant are the connections of different
parts. In the case of the implant C40+, the electrodes connect to the impiant
housing tangentially on the side of the housing to provide maximum reliability
and support from bone underneath. The Implant C40+ package is the same for
the left and right ear. To allow for the electrode to be guided toward the mastoid,

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The User Manual supplied with the COMBI 40+ is included with the Patient Kit. It is
important that users read and understand this manual completely. It contains useful
information for the COMBI 40+ and describes the user controls.

Re-Programming - Adults

While you are getting acquainted with the new sensations of sound, your perception of
loudness may change over time. Larger changes are more common during the first few
weeks following initial programming. !n addition, your hearing ability may change and a
different processor setting or strategy may be of advantage. Therefore, your implant
center may require occasional programming adjustments and examination of the
implant site. These are usually most frequent during the first year following surgery.
After this, sessions normally occur annually. On average, a programming session takes
between one and three hours.

Re-programming — Pediatric Patients/Guardians

Like all other cochlear implant systems, the settings of the speech processor will need
to be readjusted or fine-tuned. This is because the sensitivity of the hearing nerves
changes over time as they begin to get accustomed to stimulation from-the implant.
Your implant center will require that your child return at regular Intervals to have the
program and surgical site checked, The regularity of these fitting sessions will be
decided by your implant center. On average, & programming session takes between
one and three hours. The sessions will be more frequent during the first year following
surgery, and may be required annually thereafter. Most patients need occasional
adjustment of the program for as long as they use the implant.

CONTRAINDICATIONS

The Implant C40+ must not be impianted in situations where there is acute or chronic
middle ear pathology, lesions or agenesis of the 8" cranial nerve, pathologies of the
central auditory pathway, or Michel deformity present.

The patient should not be implanted if the individual is known to be intolerant of the
materials used in the implant, there is an absence of cochlear development, the
tympanic membrane is perforated, deafness is. attributed to central damage of the
acoustic nerve or the central auditory pathway, or if external or middie ear infections are

present.

WARNINGS
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WARNING: Implantees with the COMBI 40+ Cochlear Implant System should not be |
subjected to MRI, should not enter the MRI suite, or come into close proximity to the source
of the magnetic field. MRI involves the use of very strong magnetic fields, the effect of which
could possibly dislodge the implant or demagnetize the intemal implant magnet.

 

 

 

 

 
 

 

 

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the housing must be placed at a different rotational angle for left and right ears,
as indicated in the Surgical Manual.

e A well must be drilled for placement of the implant housing. Placement of the
implant without drilling a recess into the bone must never be attempted, as it will
almost certainly lead to eventual failure of the device. .

* Achannel must be drilled along the surface of the cranium to guide the active
and the reference electrodes away from the implant housing and toward the
mastoid cavity, Failure to drill a channel will likely result in premature electrode

breakage.

Please make sure to place the implant housing at sufficient distance from the
mastoid cavity to allow for space for the TEMPO+ Speech Processor. A

template is provided for guidance.

« The Implant C40+ electrode amay has a slightly oval cross-section and was
designed for ease of insertion and for deep placement in the scala tympani, and
a suitable claw and forceps are provided for this purpose. in most cases where
the scala tympani is free of obliteration, an insertion depth of ~ 31 mm should be
accomplished. There is a silicone marker ring ~' 31 mm from the tip of the
electrode, which should be up against the cochleostomy after insertion,

* The implant housing must be sutured to the skull, and care should be taken to
assure that the suture does not cross over the electrodes.

_« The implant C40+ has a separate reference electrode lead. It is strongly
recommended to place the reference electrode under the temporalis muscle onto
the surface of the skull. Placement in or on top of the muscle will tead to gradual
breakage of the reference electrode, which results in device failure. Please note
that, depending on the type of incision you use, the reference electrode may
pass underneath the incision.

We recommend the use of non-resorbable surgical suture for fixation of the implant
package, and the use of suture, a titanium clip, or the split-bridge method for fixation of
the electrode in the facial recess. The electrode array should be fixed so that no post-
operative movement can occur.

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After placement of the Implant C40+ housing and insertion of the electrode array, the
position of the electrode array should be verified through radiology. An X-ray of the
implanted ear is strongly recommended to verify electrode position in the cochlea.

User Manual

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e {naccurate placement of the active electrode array may prevent acoustic perception
with the device, and may require additional surgery.

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e Surgical risks Include the following: infection, inflammation, necrosis, hematoma,
leakage of Cerebro-Spinal Fluid (CSF), damage to the facial nerve, pain, scarring of
the wound, risks relating to general anesthesia.

¢ Possible post-operative side effects include the following: loud or uncomfortable
sounds, pain during stimulation, stimulation of the facial nerve requiring re-
programming of the device, partial or total failure of the implant requiring device
removal, increased tinnitus, increased vertigo, impairment of the sense of taste.

« Any residual hearing will probably be destroyed in the implanted ear.

e Electroconvulsive Therapy must not be used on patients who use cochlear implants.
It could cause damage to neural tissues and/or destroy the implanted device.

¢ Monopolar electrosurgical instruments, including cautery, must not be used in the
vicinity of the cochlear implant, as they can induce current levels in the implant
electrodes that may cause damage to neural tissues and/or destroy the implanted

device.

e Diathermy must not be used in an area close to the cochlear implant, as it may
induce current levels in the implant electrodes that may cause damage to neural
tissues and/or destroy the implanted device.

e fonizing Radiation Therapy close to the cochlear implant may cause damage to the

implant.

e Electrical stimulation of the inner ear may cause some long-term side effects that
are not yet known. Significant clinical experience with cochlear impiants exists only
since the early 1980's, and the COMBI 40+ employs stimulation modes that may in
some way be different from previous devices. In general, current and charge
density levels and other stimulation paramefers are contained to levels that were
shown to be safe in chronic stimulation in animals or prior cochlear implant models
in humans.

e Mechanical trauma to the implant, such as those that could result from a blow to the
head in the vicinity of the implant package, could result in failure of the device.

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PRECAUTIONS

® The speech processor is programmed to conform to each patient's individual needs.
Patients must never use another person's speech processor because it is not
suitable for them and may result in uncomfortably loud or unpleasant sensations.

* Some types of digital mobile phones may interfere with signals from the speech
processor, and the speech processor may not work properly in conjunction with

such devices.

* Electrostatic Discharge (ESD) may occur through either external or internal parts of
the cochlear implant. The risk of ESD is particularly high in dry environments.
Cochlear implant users should touch a metallic object before parts of the speech
processor and its associated components come into contact with other surfaces. or
persons. ESD can corrupt the program that is stored in the speech processor and
lead to temporary stimulation with loud and uncomfortable stimuli. The original
program in the speech processor will in. most cases be restored when the processor
is tumed off and back on. ESO may also cause damage to the implant itself,

although it is highly unlikely.

* Metal Detection Systems and Theft Detection Devices may induce an electrical field
in the cochlear implant, which can result in an audible sensation for some implant
users. The materials used in the implant may activate the alarms on such devices.
Cochlear implant patients are thus advised to always carry their Patient Identification

Card.

« The cochlear implant or speech processor could in theory disturb airplane and other
navigation systems. For this reason, the device should be considered like a
~ personal computer and should be tumed off before take-off and landing, as usually

announced by airline personnel for electronic equipment.

« Please reference the appropriate device User's Manual for additional device specific
general precautions.

ADVERSE EVENTS AND COMPLICATIONS

 

 

All patients implanted in the United States with the Implant C40+ standard electrode
array during the Investigational Device Exemption (IDE) trial were included in the safety
analysis. A total of 188 patients have been followed for a total experience of 1266
months. Adverse events were classified as medical/surgical or device related.
Complications were classified as major if they required surgical intervention and minor if
they resolved spontaneously or with non-invasive medical treatment.

 

There were no internal device failures in children or adults during the study pericd.

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ADULTS:

Twenty (20) patients out of one hundred and six (106) experienced twenty-two
(22) adverse events or complications during the study period. One (1) event was
classified as major because the resolution required revision surgery. The
remaining twenty-one (21) events were classified as minor. All adverse events
or complications have. been resolved.

Medical/Surgical Complications: Adults

One (1) patient reported uncomfortable stimulation and was re-implanted due to
the frequency and severity of the symptoms (the implant was fully functional).

One (1) patient has experienced episodic vertigo accompanied by a sensation of
fullness and tinnitus and has been diagnosed with vestibular neuritis. The
patient recently reported that the symptoms are much better and the device Is

used up to twelve (12) hours per day.

One (1) patient was able to create an air pocket over the implant caused by
vigorous nose blowing. This was resolved through counseling.

One (1) patient developed a facial weakness two weeks post-surgery. This was
treated with steroids and anti-inflammatory medication, and resolved prior to first-

fitting.

Two (2) patients developed post-operative swelling at the implant site which
decreased over time. One (1) was treated with the use of additional magnets to
hold the external coil in place. The other wore a headband. \

One (1) device case was reversed in the bone bed, resulting in the extemal coil
magnet repelling rather than attracting. The patient received an external coil that
was modified by reversing the coil magnet.

Device Related Adverse Events: Adults

Six (6) patients reported uncomfortable stimulation. Five (5) were resolved
through reprogramming and exchange of external equipment. One (1) patient
required a modified coil.

Two (2) patients reported a constant buzzing sound from the processor, one (1)
of which experienced headaches and general discomfort.

One (1) patient reported a strong metallic taste sensation each time he
stimulated the outer portion of his ear (example: water from shower in ear, finger
touching ear canal).

 

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Two (2) patients reported tinnitus.
One (1) patient reported a two-week period of dizziness post-operatively.

Two (2) patients experienced probable facial nerve stimulation.

One (1) patient experienced a tickling sensation in the ear.

CHILDREN:

Nineteen (19) out of eighty-two (82) implanted children experienced nineteen (19)

adverse evehts or complications. Three (3) were classified as major, requiring

surgical intervention, fone (1) explantation and two (2) re-suturing}, and sixteen (16)
~ were classified as minor. All have been resolved.

Medical/Surgical Complications: Children

Two (2) patients presented with post-operative infection. They were treated with
intravenous antibiotics and no further problems have been reported.

Three (3) patients presented with middle ear infections, which were resolved with
medical treatment.

Three (3) patients’ scalp incisions opened during the post-operative healing period.
Two (2) of these required re-suturing. All incisions healed properly.

One (1) patient with a history of recurrent Acute Otitis Media (AOM) developed
chronic otorrhea and granulation tissue. The patient was unsuccessfully treated
with aggressive local management. The device has been explanted with subsequent

re-implantation.
Two (2) patients had erythema at the implant site.

Device Related Adverse Events: Children

 

Three (3) children had facial nerve stimulation, which was resolved by programming.
Three (3) children had vertigo accompanied either by tinnitus or nausea.

One (1) child was only able.to use five (5) stimulation channels.

One (1) child presented with skin irritation at the implant site as a result of continuing
to wear a cracked coil.

 

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Potential Adverse Events: Adults and Children

in addition to the adverse events experienced during the clinical study, the following
_potential adverse events could occur:

Risks due to surge

Cochlear implantation is subject to the same risks as other surgical procedures
conducted under general anesthesia. In addition, surgery may result in loss of
residual hearing in the implanted ear, facial nerve injury, taste disturbances,
infection, incorrect device placement and pain at the site of the wound.

Potential side effects and medical complications

Cochlear implantation may result in a palpable lump behind the ear, numbness or
stiffness in the area of the implant, leakage of perilymph fluid, tinnitus (ringing in
the ear), vertigo (dizziness), risk of meningitis due to perilymph fluid leak,
invitation, inflammation or breakdown of the skin with possible device extrusion.

Risks related to the device

Risks associated with implantation may include a device may not restore hearing
to a level achieved by other cochiear implant users, facial stimulation and further
degeneration in inner ear nerve cells. Long-term effects of stimulation of the
hearing nerve with a cochlear implant are not fully known to date.

Device removal

Device removal may become necessary because of electrical or mechanical
failure of the implant, an infection at the site of the surgical wound or at the site of
the device that can not be successfully treated with medication, or because of
migration of the device or the electrode carrier which may result in uncomfortably
foud stimulation, no sound, or a reduction of the number of electrodes in use.
There is a risk that removal of the cochlear implant may cause damage to the

inner ear.

RESULTS OF THE US CLINICAL TRIAL
Study Population and Study Period: '

ADULTS:

One-hundred and six (106) adults were implanted with the Implant C40+ standard
electrode array at twenty-six (26) sites in the United States between November 10,
1997 and September 29, 2000. The cumulative experience was 713 months. Data
from forty-five (45) post-lingually deafened and eighteen (18) pre-lingually deafened

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patients who have at least six (6) months device experience were used to support
device efficacy. Thirty-five (36) patients have not been seen for the six (6) month
follow-up, five (5) patients did not meet the inclusion criteria for the investigational
protocol, and three (3) patients were exempted due to health issues or inability to
comply with the protocol requirements.

CHILDREN:

Eighty-two (82) children were implanted with the Implant C40+ standard elecirode
array at eighteen (18) sites in the United States between April 1, 1998 and March 1,
2000. The cumulative implant experience was 553 months, Data from fifty-five (55)
subjects who have at least six (6) months device experience were used to support
device efficacy. Of these, thirty-four (34) were younger than five (5) years and
twenty-one (21) were older than five (5) years of age. Eighteen (18) subjects had
not reached the six (6) month follow-up, four (4) patients did not meet the inclusion
criteria for the’ investigational protocol, and five (5) patients were exempted due to
health issues or inability to comply with the protocol requirements.

SAFETY PROTOCOL:

In addition to the monitoring of all complications and adverse events, fifty (50)
children and fifty (50) adults with a minimum of one (1) year device experience were
used to evaluate device safety. These were comprised of fifty (50) US children, forty
(40) US adults, and ten (10) European adults. The analysis for the fifty (50) US
pediatric and forty (40) US adult patients was comprised of evaluating the stability of
the threshold (THR) charges, the most comfortable tevel (MCL) charges and the
dynamic range, the stability or increase of auditory perceptual measures over time,
medical/otological evaluation, and monitoring of adverse events. ‘

The safety data analysis for the ten (10) European adults consists of the evaluation
of the stability of the threshold (THR) charges, and the most comfortable level (MCL)
charges and dynamic range over time using initial stimulation (one (1) month), and
post one (1) year data points. .

Electrode Channel Activation

The following tables represent the number of electrode channels versus stimulation
rate per channel! for the COMBI 40+ clinical study adult and pediatric patients. Data
displayed represents only those parameters selected by patients in the clinical trial.

 

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As exhibited in the above tabies, the investigational subjects received different rates of
stimulation measured in pulses per second (PPS). For each participant the optimal
stimulation rate per channel is displayed along the x-axis and the optimal number of
active channels is displayed along the y-axis. The number of active channels affects
the stimulation rate per channel, None of the patients selected programs with less than
5 channels, resulting in no programs with rates higher than 3,500 pps per channel.

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Pediatric: Evaluation 4 (6 months post initial fitting)

 

 

 

 

 

 

 

 

 

 

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Stimulation Rate Per Channel in Pulses Per Second (PPS)
Active 501-1250 | 1251-1750 | 1751-2500 | 2501-3500
Channels

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7 e e
8 * eee
9 eeee
10 ° e
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STUDY OUTCOMES AND STATISTICAL CONSIDERATIONS

ADULTS:

Device efficacy was defined as improved scores on speech recognition materials
presented at conversational speech levels (70 dB SPL) in quiet in the auditory-only
condition, as measured by the Hearing In Noise Test (HINT) sentence test. Device
efficacy was evaluated using a single subject repeated measures design, with the
subject serving as his/her own control. This method optimizes contro! over inherent
variability among subject and disease characteristics. No attempt was made at
blinding elther the patients or the clinicians. Statistical analysis was performed on
each speech recognition measure for all subjects comparing the best-aided pre-
surgical condition to six (6) months experience with the COMBI 40+. Trends in
impedance levels and fitting parameters, in addition to the monitoring of all adverse
events, were analyzed to support device safety.

Sentence recognition materials presented using sound alone at normal
conversational levels in quiet are considered to provide a standard clinical measure
of everyday performance. It is generally agreed that an improvement as compared
to the best-aided pre-surgical score of 20 percentage points on these materials
represents a clinically significant increase in performance. Therefore, patients
experiencing an increase of 20% or more on this measure were classified as
exhibiting clinically significant improvement.

Many patients with poor open-set speech understanding derive clear subjective
benefit in their dally fives from cochlear implantation. Therefore, patients
demonstrating an increase on sentence recognition materials of less than 20% and
an improvement in any other test are defined as some improvement.

Adult Data:

Data from. forty-five (45) post-lingually deafened patients and eighteen (18) pre-
lingually deafened patients with six (6) months device experience with the COMBI
40+ were used to substantiate device efficacy. The performance at six (6) months
device experience was compared to the pre-operative best-aided hearing condition

with appropriately fitted hearing aids.

The following tests were administered pre-operatively and at six (6) months device
experience. All speech recognition tests were administered from CD recording at 70

dB SPL.

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* 4-choice spondee words CD Recording

* Sentences in quiet |= HINT sentences, CD recording
City University of New York
(CUNY) sentences, CD recording

* Sentences in noise HINT sentences at 10dB SNR, CD
Recording

« Monosyllabic words Consonant-Nucleus-Consonant

(CNC) words, CD recording

* Sentences via telephone Central Institute for the Deaf
(CID) sentences, live voice

Post-lingually Deafened Adults

The average age at implantation for the forty-five (45) post-ingually deafened
patients was 53.5 years. These patients had a mean duration of hearing loss of

twenty-eight (28) years.

At six (6) months experience with the COMBI 40+, post-lingual adults with hearing
loss less than twenty-five (25) years (N=18) demonstrated:

* « amean increase in the ability to recognize words in CUNY sentences in quiet

of 72% above their pre-operative score.
a mean score of 86% on CUNY in quiet.
a mean increase in the ability to recognize words in HINT sentences in quiet
of 70% above their pre-operative score.
a mean score of 75% on HINT scores in quiet.
a mean increase in the ability to recognize words in HINT sentences in the
presence of +10 dB SNR background noise of 61%.

* a mean score of 63% on HINT sentences in the presence of background
noise.
a mean increase in the ability to recognize CNC monosyllabic words of 40%.
a mean score of 44% on CNC monosyllabic words.
a mean increase in the ability to recognize CID sentences over the telephone
of 68%.

¢ amean score of 68% on CiD sentences over the telephone.

 

At six (6) months experience with the COMBI 40+, post-lingual adults with hearing
loss greater than twenty-five (25) years (N=27) demonstrated:

¢ amean increase the ability to recognize words in CUNY sentences in quiet of

56% above their pre-operative score.
e a mean increase in the ability to recognize words in HINT sentences in quiet

of 50% above their pre-operative score.

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* a mean increase in the ability to recognize words in HINT sentences in the
presence of +10 dB SNR background noise of 41%.

* amean increase in the ability to recognize CNC monosyllabic words of 29%.

* mean increase in the ability to recognize CID sentences over the telephone

of 42%.

Pre-lingually Deafened Adults

The average age at implantation for the eighteen (18) pre-lingually deafened
patients was 37.4 years. These patients had a mean duration of hearing loss of
36.5 years, At six (6) months experience with the COMBI 40+, Pre-lingually
Deafened adults, (N =18), range birth to 42° ‘ years, profoundly deafened prior to 6
years of age) demonstrated:

elt The upper limit of forty-two (42) years is for those cases when hearing loss
was documented upon inclusion into the clinical trial. In all cases it has been
found that these patients were deafened at birth, or prior to the age of six (6) due
to maternal measles, maternal meningitis, or other congenital reasons.

* amean increase in the ability to recognize words in CUNY sentences in quiet
of 21% above their pre-operative score.

° amean increase in the ability to recognize words in HINT sentences in quiet
of 19% above their pre-operative score.

* a mean increase in the ability to recognize words in HINT sentences in the
presence of +10 dB SNR background noise of 12%.

* amean increase in the ability to recognize CNC monosyllabic words of 10%.

« amean increase in the ability to recognize CID sentences over the telephone

of 20%. '

Length of Deafness Summary for Post-Lingually Deafened Adults

As a combined group (< twenty-five (25) years deafened (N=18) and > twenty-five
(25) years deafened (N=27) populations), eighty-five (85) percent demonstrated
_ Clinically significant improvement defined as an increase on open set sentence tests
of over 20% and all but one (1) demonstrated some improvement. When both
recorded sentence tests included in the audiologic battery are considered (20%
improvement on HINT in quiet or CUNY sentences), 91% of subjects achieved a
20% improvement on one or both of the test scores. ‘

Following at least six (6) months of device usage, twenty-six (26) patients had the
fitting of their TEMPO+ Speech Processor optimized with the DIB. After thirty (30)
days with the new program, speech-understanding results on CUNY sentences in
quiet and CNC words with the TEMPO+ Speech Processor were compared to the
CIS PRO+ Speech Processor. Although the mean values for the TEMPO+ Speech

 

 

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Processor are higher than the CIS PRO+ Speech Processor, the difference was not
statistically significant.

Eighty-four (84) percent of the subjects (N = 45) report that the implant has ‘quite
positively’ (40%) or ‘very positively’ (44%) affected their lifestyle. Responses on the
“Quality of Life” questionnaire demonstrated the following statistically significant
improvements after six (6) months device experience as compared to the pre-

operative condition:

* COMBI 40+ adult recipients are less concemed about their safety or welfare

because of their deafness.
* They do not change their activities as much due to concems about their safety of
welfare because of their deafness.
They are less often upset because they are deaf.
Their deafness does not affect enjoyment of social events as much.
They are more comfortable attending social events.
They feel less isolated as a result of their deafness.
Their deafness does not affect their sense of belonging as much. |
They find it easier to visit a store or restaurant alone.
it is easier for them to communicate.
It is less frustrating for them to communicate.
The quality of their closest relationship is less affected by their deafness.
They do not feel left out of conversations with family members as much,
Their relationships with friends are more satisfying.
Their relationships with friends are less affected by their deafness.
Their performance at work was less affected by their deafness.
Deafness did not alter their hobbies or recreational activities as much.
They more often engaged in activities that usually require hearing (watching TV,
attending sporting events). ;
¢ Their lifestyle is less affected by their deafness.

Although most of the instrument items do not demonstrate statistically significant
improvements in quality of life for the pre-lingually deafened patients, probably due
to limited power related to the small sample, responses to most of the items are
more favorable at six (6) month post implant as compared to pre-surgical. After six
(6) months of experience with the Implant C40+, 83% of these subjects (N = 18)
reported that the device ‘very positively’ (50%) or ‘quite positively’ (33%) affected
their lifestyle. :

CHILDREN:

Device efficacy was defined as improved performance on any measure of the
speech perception battery in quiet after six (6) months of device use as compared to
the best-aided pre-surgical condition on age-appropriate measures. Because
children express improvement in speech recognition differently due {to age,

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maturation, language and cognitive development, a different test battery was used
for younger children (ages eighteen (18) months through four (4) years eleven (11)
months) than for older children (ages five (5) years through seventeen (17) years
eleven (11) months). In addition to speech perception measures, the Meaningful
Auditory integration Scale (MAIS) and the Infant Toddler Meaningful Auditory
Integration Scale (IT-MAIS) was administered as a measure of the child's ability to
integrate auditory information into daily routines, enabling evaluation of children who
have difficulty taking standardized tests due. to maturational factors. Sound-field
warble tone, speech detection and speech recognition thresholds were measured to
complement the assessment of auditory performance. An auditory skills checklist
was also administered and evaluated. Clinical safety was supported by monitoring
of all adverse events and analysis of stability of electrode impedances, fitting
parameters and auditory perceptual measures over time.

The primary measure of efficacy is a single test of binomial proportions to test that
the Med-E] COMBI 40+ Cochlear implant System improved performance on any
measure of the speech perception battery in quiet after six (6) months of device use
compared to the best-aided pre-surgical condition on age-appropriate measures. As
a secondary set of analyses, group scores are compared using a Student's Paired t-
Test for each audiologic measure at pre-surgical compared with the six (6) month
evaluation. In addition, poolability of data across investigational sites and
audiological performance over time are analyzed using repeated measures analysis
of variance (RM-ANOVA) models, including terms for investigational site and time in
the statistical models. Due to the multiplicity of assessments (i.e., 10 in older
children, 5 in younger children), statistical significance of the primary analysis of the
single test of proportions test is considered 0.05 / 10 = 0.005 for older children, and
0.05 / 5 = 0.01 for younger children. A two-sided alpha level of 0.05 is considered
statistical significant for all statistical hypothesis tests in the secondary analyses.
Descriptive statistics are supplied for each test according to the age group to fully
characterize the outcome of all the study participants.

Younger children:

Children who enter.the study as a member of this age category (ages eighteen (18)
months through four (4) years eleven (11) months) continued with the same protocol
throughout the study even if they exceeded the age of five (5) during the follow-up
period. The mean age for this group was 2.9 years.

‘

All of the following test measures were administered pre-operatively and at six
(6) months device experience with the COMBI 40+ for the younger children
who were capable of taking the tests, All live-voice test administration was
monitored with a sound-level meter at. 70 dB SPL. All recorded tests were
administered at 76 dB SPL.

e IT-MAIS Parent Interview.

 

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Early Speech Perception (ESP) test Low Verbal Version administered live-voice.

Glendonald Auditory Screening Procedure (GASP) Words administered live
voice. The GASP could not be administered immediately following the ESP
standard pattern perception subtest because of shared vocabulary.

Auditory Skills Checklist was completed by the child's therapist (must have been
a certified audiologist, speech language pathologist, or auditory-verbal therapist).

Of the younger children who were capable of being tested on open-set word
recognition tasks:

°

70 % (16/23) demonstrated improvement on the ESP tow verbal pattern

perception test.
50 % (10/20) demonstrated improvement on the ESP low verbal spondee

identification test.
48 % (10/21) demonstrated improvement on the ESP low verbal monosyllabic

word identification test.
57 % (12/21) demonstrated improvement on the GASP open set word test.

{T-MAIS parental questionnaire:

All younger children who were tested (33/33) improved on the IT-MAIS as an
overall score.

As a group, the younger children significantly improved on all questions of the IT-
MAIS:

* 76% (25/33) of the children frequently or always responded to their name

’ . in quiet compared with 15% (5/33) pre-operatively.

« 52% (17/33) of the children frequently or always responded to their name
in noise compared with 3% (1/33) pre-operatively.

“67% (22/33) of the children frequently or always spontaneously alerted to
environmental sounds compared with 6% (2/33) pre-operatively.

«" 45% (15/33) of the children frequently or always alerted to new sounds
when in an unfamiliar surrounding compared with 0% (0/33) pre-
operatively.

« 67% (22/33) of the children frequently or always recognized ‘or responded
appropriately to sounds in the classroom and at home compared with 3%
(1/33) pre-operatively.

" 52% (17/33) of the children frequently or always were able to discriminate
between two speakers using audition alone compared with 6% (2/33) pre-
operatively.

 

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« 67% (22/33) of the children frequently or always recognize speech as
different than non-speech sounds compared with 6% (2/33) pre-
operatively.

» §5% (18/33) of the children frequently or always were able to associate
vocal tone (anger, excitement) with ifs meaning as compared to 12%

(4/33) pre-operatively.

Older Children:

Children aged five (5) years through seventeen (17) years eleven (11) months,
Children in this group had a mean age at implantation of 8.8 years.

All of the following test measures were administered pre-operatively and at six
(6) months device experience with the COMBI 40+ for the older children who
were capable of taking the tests. All live-voice test administration was monitored
with a sound-level meter at 70 dB SPL. All recorded tests were administered at 70
dB SPL. The following measures have been used to establish device efficacy:

MAIS Parent Interview

ESP Standard Version administered live voice

Multisyllabic Lexical Neighborhood Test (MLNT), Level 1 recorded version
Lexical Neighborhood Test (LNT), Level 1 recorded version

GASP Words administered live voice

Bamford-Kowal-Bench (BKB) Sentences recorded version

Auditory Skills Checklist to be completed by the child's therapist (must have
been a certified audiologist, speech language pathologist, or auditory-verbal

therapist).

Of the older children who weie capable of being tested on open-set word
recognition tasks:

e 68% (13/19) demonstrated improvement on the ESP standard pattem

perception test.
« 79% (15/19) demonstrated improvement on the ESP standard spondee

identification test.

« 68% (13/19) demonstrated improvement on the ESP standard monosyllabic
word identification test.

© 79% (15/19) demonstrated improvement on the GASP open set word test.

 

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63% (12/19) demonstrated improvement on the LNT word test.

89% (17/19) demonstrated improvement on the LNT phonemes test.
65% (11/17) demonstrated improvement on the MLNT words test.

82% (14/17) demonstrated improvement on the MLNT phonemes test. -
53% (10/19) demonstrated improvement on the BKB sentence test.

MAIS parental questionnaire:

e All older children who were tested (20/20) improved on the MAIS as an overall

score. .
« As a group, the older children significantly improved on all questions of the

MAIS:

* @ @686 @

* 95% (19/20) of the children frequently or always responded to their name .
in quiet compared with 55% (11/20) pre-operatively.

© 80% (16/20) of the children frequently or always responded to their name
in noise compared with 25% (5/20) pre-operatively.

* 80%. (16/20) of the children frequently or always spontaneously alert to
environmental sounds in the home compared with 25% (5/20) pre-
operatively.

* 70% (14/20) of the childfen frequently or always. alerted to new sounds
when in an unfamiliar surrounding compared with 25% (5/20) pre-
operatively.

* 75% (15/20) of the children frequently or always responded recognized or
responded appropriately to sounds in the classroom and at home |
compared with 45% (9/20) pre-operatively.

« 65% (13/20) of the children frequently or always were able to discriminate
between two speakers using audition alone compared with 40% (8/20)
pre-operatively.

« 70% (14/20) of the children frequently or always recognize speech as
different than non-speech sounds compared with 45% (9/20) pre-
operatively,

« 55% (11/20) of the children fréquently or always were able to associate
vocal tone (anger, excitement) with its meaning as compared to 25%
(5/20) pre-operatively.

Communicative Skills Checklist (older and younger children):

The terms “sometimes”, “often” and “always” refer to responses at the 25%, 50%
and 75%+ level, respectively.

 

* 84% (42/50) of the children often or always searched for the sound source
compared to 34% (17/50) pre-operatively.

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« 80% (40/50) of the children offen or always identified a sound source
compared to 34% (17/50) pre-operatively.

* 62% (31/50) of the children were able to discriminate intensity differences

__ often or always compared to 36% (18/50) pre-operatively.

¢ 80% (40/50) of the children were able to discriminate durational cues often or
always compared to 50% (25/50) pre-operatively.

« 68% (34/50) of the children were able to discriminate pitch differences often
or always compared to 28% (14/50) pre-operatively.

« 76% (38/50) of the children were able to respond to sounds at a distance
often or always compared to 22% (11/50) pre-operatively.

¢ 72% (36/50) of the children were often or always able to’ associate a familiar
sound with its meaning or anticipated event compared to 26% (13/50) pre-
operatively.

° 64% (32/50) of the children were often or always able to improve their
speech.

* 56% (28/50) of the children were able to respond to simple directions often or

always using audition alone compared to 26% (13/50) pre-operatively.

« 36% (18/50) of the children were often or always able to identify and
comprehend speech in a noisy environment without lip reading compared to

_ 8% (4/50) pre-operatively.

e 24% (12/50) of the children were able to understand a message from an
electronic sound source such as radio or film compared to 6% (3/50) pre-

operatively.

Patient Counseling Information:

Prospective cochlear implant patients must be properly counseled prior to surgery, and
expectations must be realistic, information for prospective patients is available upon
request from MED-EL. Expected performance. with the cochlear implant cannot be
accurately predicted. Duration of deafness, age at implantation, primary
communication mode, communicative ability and the patient's auditory environment all
have an impact on success with the cochlear implant. There may be other unknown
factors, which also mitigate success with an implant. The professionals at a cochlear
implant center are the best source of information regarding the expected outcome
following ‘implantation. [t is also imperative that the patient and/or parents fully
understand the risks associated with the procedure and the requirements for long-term
follow-up care. a

The final decision on ear selection remains at the discretion of each clinic. However,
the ear with the least obstruction to full electrode insertion should be considered.

Pre-lingually deafened adults may not demonstrate the same degree of benefit as post-
lingually deafened adults. There is potential for awareness and recognition of
environmental sounds, enhanced lip-reading capabilities, improvement in voice

 

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monitoring and speech production and in some instances the ability to understand
speech without lip-reading.

Pre-lingually deafened adult patients should be counseled regarding the limited benefit
that they may receive from cochlear implantation. These patients must be highly
motivated because they tend to be more likely to discontinue cochiear implant use.

STERILIZATION AND SHELF LIFE:

The Implant C40+ has been exposed to a validated Ethylene Oxide (EO) sterilization
cycle and is delivered in a sterile package. it has a shelf life of at least two (2) years. {f
the expiration date marked on the package has expired, the device must be returned to
the manufacturer for possible re-sterilization before being implanted.

Please note that the implant is double-packaged in two (2) transparent packages.
Examine the sterile packages to make sure that the welded seams are intact. If the
seams are not intact, or if you suspect that sterility has otherwise been compromised,

the implant should not be used,

STORAGE AND HANDLING:

Unused implants C40+ should be stored in the outer transportation carton at normal
humidity: and temperature in the range of 50°F - 80°F. Avoid temperature extremes

below 32°F or above109°F.

EXERCISE CAUTION AT ALL TIMES WHILE HANDLING THE STERILE PACKAGE,
OPENING THE PACKAGE, OR HANDLING THE IMPLANT! Do not implant a device
that has been dropped. Return it to the manufacturer for replacement, and use a

backup device instead..
Please note that the implant contains a high intensity magnet within the ceramic

housing,

TO OPEN THE STERILE PACKAGE PLEASE USE THE FOLLOWING PROCEDURE
(PLEASE CHECK LABELING FOR PACKAGE CONTENT):

’ Do not use the implant if the packaging is damaged.

. Do not open package until needed during surgery.

° Caution ~ Do not drop!
, Caution — Implant is magnetic!
: Contaminated, non-sterile implants cannot be re-sterilized.

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The sterile tmolant package consists of:

 

1 outer package with sealed Tyvek lid (1)

 

1 implant holding tray (3)
1 plastic tube (4) (electrode protection)

 

Both packages are opened by peeling off the Tyvek Lid (see labeling: "Open here")

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STEP 1: HOW TO OPEN THE OUTER PACKAGING

 

 

° Check labeling for package content and peel off and dispose of the Tyvek lid.

 

 

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° Place one hand over the inner packaging and turn the packaging over (upper
part down).

 

, Remove and dispose of the outer packaging (transparent). -

STEP 2: HOW TO OPEN THE INNER PACKAGING

° Peel off and dispose of the Tyvek lid.

 

‘ Place one hand over the black-tinted Implant holding tray and turn the packaging
over (upper side down).

° Gently squeeze the Implant holding tray out of its packaging onto a flat surface.

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. Dispose of the inner packaging (transparent).

° Hold the implant at the finger access and horizontally pull the electrode out of the
protective plastic tube.

  

° Dispose of the implant holding tray (black-tinted) and the plastic tube.

Never lift, hold, suspend or carry the Implant C40+ by the electrode! This may result in

unseen damage to the electrode contacts or the leads within the electrode, and cause

complete device failure. Hold the Implant C40+ by the ceramic body only.

Use only the Surgical Templates when fitting and measuring for the position of the
- implant and electrodes on the patient's skull. Handle the electrode only with the

surgical instruments provided in the Surgical Kit. Place the actual implant only when

certain that it will not need to be replaced or re-positioned.

 

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Caution: Federal us) taw restricts this device to sale, distribution and use
by or on the order of a physician.

 

 

 

Contact Information
MED-EL Corporation

2222 East Highway 54°
Suite B-180

Durham, NC 27713
Telephone: 919-572-222
Toll Free: 1-888-633-3524
Fax: 919-484-9229

 

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USER MANUAL FOR THE
MED-EL TEMPO+
EAR LEVEL SPEECH PROCESSOR.

Manufacturer:
MED-EL™ Corporation
2222 East Highway 54 Suite B180
Durham, NC
27713 USA
\ Tel: (919) 572-2222
Fax: (919) 484-9229

 

 

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FLA, U.S. Food and Drug Administration
Home > | s, Compliance, Ent: n inal igations > Enforcement Actions > Warning Letters

Inspections, Compliance, Enforcement, and Criminal Investigations

MED-EL E?7EKTRO-MEDIZINISCHE GERATE GmbH 16-Nov-04

Public Health Service
Department of Heaith and Human Services’ logo2ePartment of Health and Human Services Food and Drug Administration

 

Center for Devices and
Radiological Health
2098 Gaither Road
Rockville, MD 20850

NOV 16 2004 WARNING LETTER
. FEDERAL EXPRESS

Dr. Ingeborg Hochmair

CEO

MED-EL ELEKTRO-MEDIZINISCHE GERATE GmbH
Furstenweg 77a, A-6020
Innsbruck, Austria

Dear Dr, Hochmair:

During inspections of your firms, MED-EL ELEKTROMEDIZINISCHE GERATE GmbH, located in Innsbruck,
Austria on June 7 through June 16, 2004, our investigators determined that your firms manufacture cochlear
implant systems. Cochlear implants, such as the COMBI C40+, the PULSAR, are devices within the meaning of
section 201(h) of the Federal Food, Drug, and Cosmetic Act (the.Act)(21 U.S.C. 321(h)).

These inspections revealed that your devices appear to be adulterated within the meaning of section 50](h) of the
Act (2] U.S.C. 351(h)), in that the methods used in, or the facilities or controls used for, their manufacture,
packing, storage, or installation are not in conformity with the Current Good Manufacturing Practice (CGMP)
requirements of the Quality System (QS) regulation found at Title 21, Code of Federal Regulations (CFR), Part
820, Significant violations include, but are not limited to, the following:

1, Failure to establish and maintain procedures to control the design of the device in order to ensure that specifiec
design requirements are met, as required by 21 CFR 820.30 (a)(1). For example, procedures to control the design
process for the device were not implemented. [redacted] was not implemented. The requirements for desi

control were not used and design control procedures were not followed for the product change ([redacted] from a
thick film to thin film product. There was also a change in components (materials) which resulted in changes to
the finished product.

2, Failure to establish and maintain procedures for the identification, documentation, validation or where

ap ropriate verification, review, and approval of design-changes before their implementation, as required by 21
FR 830.30(i). For example, the firm failed to implement Quality System regulation design contro! requirements
for changing the ceramic housing assembly components ([redacted]). . Your firm failed to provide documentation
for design and development planning, design input, design output, design review, design verification, design
transfer, and design history file for changing the [redacted], Your firm's Standard Operating Procedure for Design
Control ({redacted]), page 9, does not provide enough detail to meet the requirements in 27 CFR 820.30(i).

3. Failure to maintain procedures to ensure that the design requirements relating to a device are appropriate and
address the intended use of the device including the needs of the user and patient. The procedure shall include a
mechanism for addressing incomplete, ambiguous, or conflicting requirements. The design input requirements
shall be documented and shall be reviewed and approved by a designated individual(s), as required by 21 CFR
$20.30(c). For example, the SOP, Jredacted] including [redacted] and [redacted] was not followed. The [redacted
process was used to change the C40+ housing assembly from a "thick" to "thin" film. There were no design input
requirements for changing the product characteristics/specifications-material, and material thickness changes to
[redacted]. There were no design input requirements/specifications for [redacted] specifications and [redacted]
(e.g. [redacted], [redacted] test, [redacted], [redacted] and [redacted] test).

4. Failure to establish and maintain procedures for validating the device design, as required by 21 CFR 820.30(g).
For example, Design Verification/Validation [redacted] was not followed. There was no verification or validation
(V&V) plan. Review and approval! of the V&V plan before various verification activities were not conducted on
the “[redacted]" products. Your firm did not place in-coming requirements on the [redacted], i.e. thickness or

 

 

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chemical! uniformity and distribution from [redacted]

5. Failure to establish and maintain a DHF for each type of device. The DHF shall contain or reference the
records necessary to demonstrate that the design was developed in accordance with the approved design plan anc
the requirements, as required by 21 CFR 820.30(j). For example, design control procedure [redacted] was not
implemented. Your firm failed to have a design history file for the change of materials in the {redacted} housing
assembly and changes from using a thick film to a thin film process.

6. Failure to establish and maintain procedures for defining and documenting design output in terms that allow an
adequate evaluation of conformance to design input requirements. Design output procedures shall contain or
make reference to acceptance criteria and shall ensure that those desi outputs that are essential for the proper
functioning of the device are identified, as required by 2] CFR 820.30(d). For example, your firm failed to have
design input requirements other than a [redacted] test from which acceptance criteria for design output could be
identified. To control the manufacturing of a product, your firm must have detailed product and/or process _
specifications. Any product manufactured under controlled conditions must have detailed product specifications
or detailed manufacturing process specifications. MED-EL fails to have product specifications or manufacturing
process specifications for the [redacted] of the [redacted].

7. Failure to establish and maintain procedures to ensure that the device design is correctly translated into
roduction specifications, as required by 21 CFR 820.30(h). For example: (a¥ the new design using the [redacted]
ror the thin film technology was not validated before being implemented; (b) [redacted] has not been completed;
(c) the thin film C40+ housing assembly and the [redacted] and/or the process for the [redacted] has not been
characterized;-and (d) design input requirements were not predetermined for transfer into production.

8. Failure to establish and maintain data that clearly describe or reference the specified requirements, including
quality requirements, for purchased or otherwise received product and services, as CFR 820.50(b). For example,
MED-EL's [redacted] to fredacted] for purchase of the [redacted] housing assembly manufactured with a
[redacted] lacks specific specifications regarding the [redacted] and/or specification for the [redacted] used to
apply the [redacted].

9, Failure to establish and maintain procedures to ensure that all purchased or otherwise received product and
services conform to specified requirements. Each manufacturer shall establish and maintain the requirements,
including quality requirements that must be met by suppliers, contractors, and consultants. Each manufacturer
shall evaluate and select potential suppliers, contractors, and consultants on the basis of their ability to meet
specified requirements, including quality requirements. The evaluation shall be documented, as required by 21
FR 820.50(a)(1). For example, review of the "[redacted]" (supplier name was blank) dated August 17, 2001,
failed to reference any [redacted] requirement for the supplier to meet the Quality System regulation, Changes to
quality elements were mentioned, but requirements to meet the Quality System regulation were not mentioned.
roduct and manufacturing methods were discussed on the acceptance of returned products, which failed to
comply with the Purchase Order or other written agreements specifications. However, your firm failed to provide
specifications or manufacturing methods identified for the [redacted] or method for applying the fredacte ].
Although (Yo firm performs supplier audits, there are no product and/or process operating specifications for the
)

 

{redacted} Your firm failed to provide specific requirements that the supplier must meet in joining the [redacted]
to the [redacted].

10. Failure to adequately maintain procedures to ensure that all purchased or otherwise received produci and
services conform to specified requirements, as required by 21 CFR 820.50. For example, review of SOP,
{redacted} dated [redacted], showed the [redacted], or designee, is responsible for completing the [redacted]
Agreement. This procedure lacked specific instructions for redacted] for a [redacted] to have a [redacted]
requirement for a [redacted] to comply with the Quality System regulation.

11. Failure to define the type and extent of control to be exercised over the product, services, su:
contractors, and consultants, based on the evaluation results as required by 21. CFR 820.50(a)(2

[redacted] dated [redacted], showed that the redacted] lacked process-operating and [redacted

required to produce and control the quality of the [redacted].

12, Failure to establish and maintain procedures for acceptance of incoming product. Incoming product shall be
inspected, tested, or otherwise verified as conforming to specified requirements. Acceptance or rejection shall be
documented, as required by 21 CFR 820.80(b). For example. procedures for acceptance or rejection of incoming
roducts were not complete. Your firm failed to sample and conduct routine testing of the [redacted] between the
fredacted} and the [redacted]. These tests may not include [redacted] test such as [redacted] and other tests,

13. Failure to establish and maintain procedures for analyzing processes, work operations, concessions, quality
audit reports, quality records, service records, complaints, returned product, and other sources of quality data to
identify existing and potential causes of nonconforming product, or other quality problems. Appropriate statistica
methodology shall be employed where necessary to detect recurring quality problems, as required 4 21 CFR
820.100(a)(1). For example, there is no procedure addressing the data entry requirements for trans erring
information from complaint files to the electronic complaint database. The database is used for data analysis. All
essential information from complaints and failure analysis information contained within each complaint was not
transferred.to the electronic complaint database. .

14. Failure to establish and maintain procedures for investigatin the cause of nonconformities relating to product
processes, and the quality system, as required by 2] CFR 820.100(a)(2). For example:

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. For example.
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(a) a “loss of hermeticity," can cause failure of the [redacted] that could result in [redacted] Your firm failed to
test explanted devices for DC leakage that were confirmed to have "Loss of Hermeticity" and the [redacted] out
of specification. DC leakage was determined to be a critical specification in your firm's risk analysis for cochlear
implants.

(b) Review of [redacted] showed that the facts did not support the conclusion that device failure could be related
to'an accident from trauma to the forehead area. There was no failure analysis information showing any failure
attributable to stress on the device. The device failure analysis showed failure was due to “Loss of Hermeticity."
There was no indication that the root cause of the hermeticity problem was different than the already established
thick film process [redacted] reliability problems,

15. Failure to adequately maintain procedures for implementing corrective and preventive action, and failure to
document all activities and results under this section, as required by 21 CFR 820.100(b). For example, [redacted]
were reported to have been identified using a Scanning Electron Microscope(SEM) for element analysis. The test
method and test [redacted] were not documented for the [redacted] Review of complaint and failure analysis
records found photos without explanations. These photos were reported to document a variety of
nonconformances including "Loss of Hermeticity” and nonconformance sites on the [redacted]. The procedures
lack a requirement for disclosing the reason for the photos and any nonconformance exhibited in the photos to
support a device failure with evidence of "Loss of Hermeticity". The conclusion given as "The results of the
examinations showed that the device was no longer working electrically within specifications," does not include
all information that was reasonably known to the manufacturer.

16, Failure to establish and maintain procedures to control product that does not conform to specified
requirements. The procedures shall address the identification, documentation, evaluation, segregation, and
disposition of nonconforming product. The evaluation of nonconformance shall include a determination of the
need for an investigation and notification .of the persons or organizations responsible for the nonconformance.
The evaluation and any investigation shall be documented, as required by 21 CFR 820,90(a). For example, failure
analysis photos show surface contamination of electronic substrates. Even though some contamination was
identified as dendrites, other contaminants had not been analyzed. All contaminants could potentially form DC
leakage paths. The failure of the cochlear implant can result in pain, uncomfortably loud sound sensation, noise
perceptions, etc., but the relationship of these patient perceptions to potential product failure modes is not

explained in the failure investigations.

17, Failure to establish and maintain procedures that define the responsibility for review and the authority for the
disposition of nonconforming product. The procedures shall set forth the review and disposition process.
Disposition of nonconforming product shall be documented. Documentation shall include the justification for use
of nonconforming product and the signature of the individual(s) authorizing the use, as required by 2] CFR
820.90(b)(1). For example, review of your firm's quarantined products found that cochlear implants returned fron
the US and documented as scrapped were, in fact, not scrapped.

18. Failure to maintain device master records (DMR's) and to ensure that each DMR is prepared and approved in

accordance with 21 CFR 820.40. The DMR for each type of device shall include, or refer to the location of, the

following information: device specifications including appropriate drawings, composition, formulation, componen

specifications, and software specifications, as required by 21 CFR 820.1 ai a), For example, your firm failed to
provide specifications for the [redacted] thickness and other [redacted] characteristics for the [redacted] such as
onding strength, peel, crush, leaching, tensile and shear.

19, Failure to establish and maintain procedures for identifying valid statistical techniques required for
establishing, controlling, and verifying the acceptability of process capability and product characteristics where
appropriate, as required by 21 CFR 820.250(a). For example, there is no information to support the
appropriateness of the statistical techniques used, €.B., the number of test samples used to determine acceptability
of thick film C40+ [redacted] housing assembly for "equal or better," which is used as a reference for the
verification testing of the thin film devices.

in addition, we have included two violations from the Quality System regulation that were listed on the FDA 483
that was issued at the conclusion of the March 29 - April 1, 2004, inspection of MED-EL, as follows:

1. Failure to provide procedures addressing the data entry requirements for transferring information from
complaint files to the electronic complaint database. The database is used for data analysis. When all essential
information from complaints and failure analysis fails to provide the results of a process, which cannot be fully
verified by subsequent inspection and test, the process shall be validated with a high degree of assurance and
approved according to established procedures, as required by 21 CFR 820.75. For example, your firm failed to
comply with the requirements of the government standard that is reported by used during validation of the ETO
sterilization process. MED-EL stated during the inspection that ETO validation was conducted according to the
British Standard EN550:1994 and performance qualification using B3.4.4 Method C; Half-cycle method (EIR -
3/29- 4/1/04-pg.9 & 10), Review of the firm's validation test data indicated that the [redacted] half cycle runs
were not performed at the worst case cycle parameter specification of [redacted] ETO gas (the minimum gas
fetacted) specified). The [redacted] validation runs were performed with gas concentrations at [redacted] an
redacte

Your [redacted] response, [redacted] appears to be adequate.
2. Failure to adequately establish procedures for quality audits and conduct such audits to assure that the quality

 

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system is in compliance with the established quality system requirements and to, determine the effectiveness of
the quality system as required b 21 CFR 820.22. For example, a review of [redacted], [redacted] and [redacted}

rocedure lacked specific procedures for conducting an audit of a contract sterilizer. [redacted] states that to
Facilitate the auditor's investigations, there may be checklists, recording forms and forms to document
nonconformance.

Your firm's {redacted] response appears to be adequate, However, your firm should specify the affected personne
that will be trained on the procedure and checklist. The length of time between the annual audit and the second
audit should be specified. Pease provide the checklists, recording forms and forms that document
nonconformance.

Additionally, the June 7 through June 16, 2004, inspection of MED-EL revealed that your devices are misbrande:
within the meaning of section 02(t)(2)of the Act, in that your firm failed or refused to furnish any material of
information required by or under section 319 respecting the device and 21 CFR Part 803 - Medical Device
Reporting (MDR) regulation. Significant deviations include, but are not limited to the following:

1, Failure to provide documentation and recordkeeping information that facilitates timely follow-up and
inspection by FDA, as required by 21 CFR 303.17 (by).

(a) For example, [redacted] does not have sufficient requirements to verify that an MDR forwarded to MED-EL
*orporation (North America) for transmission to the FDA was sent to the FDA.

(b) Manufacturer report [redacted] was reportedly filed with FDA. A search of the FDA MDR database showed
no record of the filing and MED-EL Corp. (North Americas) could not provide evidence that the report had been
transmitted (faxed) to FDA.

3. Failure to provide all MDR information to FDA, as required by 21 CFR 803.50. For exam pie. review of MDR:
for cochlear explants resulting from a loss of hermeticity reported the failure mode as electronically no longer
working within specifications. The manufacturer was aware that the root cause of these failures was‘a “Loss of
Hermeticity." There were over [redacted] MDR reports attributing device failure to "out of specification" devices
without reporting the root cause of the failure as due to a "Loss o Hermeticity. Additionally, your firm was
aware that many of the “loss of hermeticity" devices showed evidence of [redacted] and {redacted], on the
[redacted], which accounts for some of the pain experienced by device users.

This letter is not intended to be an all-inclusive list of violations at your facility. It is your responsibility to ensure
compliance with applicable laws and regulations administered by FDA. The specific violations noted in this letter
and in the Inspectional Observations, Form FDA 483 (FDA 483), issued at the closeout of the inspection may be
symptomatic of serious underlying problems in your finn's manufacturing and quality assurance systems, You
should investigate and determine the causes of the violations, and take prompt actions to correct the violations
and to bring your products into compliance.

Given the serious nature of these violations of the Act, cochlear implants (COMB] 40+, C40+ S(compressed),
and C40+ (GB) manufactured by your firm, imported or offered for import are subject to refusal of admission
under section 801(a) of the,Act, 21 U.S.C, 381{a), in that . they appear to be adulterated. As a result, FDA may
take steps to refuse these products, known as "detained without physical examination," until these violations arc
corrected,

in order to remove the devices from detention-, you should provide a written response to this Warning Letter as
described below and correct the violations described in this letter. We will notify you if your response is adequate
and we may need to re-inspect your facility to verify that the appropriate corrections have been made. In additior
U.S. federal agencies are advised of the issuance of all Warning Letters about devices so that they may take this
information into account when considering the award of government contracts.

A response from you, dated [redacted] concerning our investigators’ observations noted on the FDA 483 was sent
to us. However, we did not receive your response until [redacted] and are currently reviewing all of the
documents, We will continue our review of these documents and communicate our comments to you in a separat
letter. In the meantime, however, you should not delay your response to this warning letter.

Please notify this office in writing within fifteen (15) working days from the date you receive this letter, of the
specific steps you have taken to Correct the noted violations, including an explanation of how you plan to prevent
these violations, or similar violations, from geeurring again. Include all documentation of the corrective action yo
have taken, If you plan to make any corrections in the future, include-those plans with your response to this letter
as well. If the documentation is not in English, please provide a translation to facilitate our review.

Your response should be sent to the Food and Drug Administration, Center for Devices and Radiological Health,
Office of Compliance, Division of Enforcement A, Dental, ENT, and Ophthalmic Devices Branch, 2098 Gaither
Road, Rockville, Maryland 20850 USA, to the attention of Ronald L. Swann.

If you need help in understanding the contents of this letter, please contact Betty W. Collins, Director, Division o
Enforcement A at (301) 594-4611.

For technical questions, please contact Valerie A. Flournoy at the above address or at (301) 594-4613 or FAX
(301) 594-4638.

Sincerely yours,

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Timothy A. Ulatowski
Director
Office of Compliance
Ceriter for Devices and
Radiological Health

 

 

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Product Warranty

 

 

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& Service Contract Options an oe

| MANUFACTURER'S WARRANTY ;
(Comprised of Cochlear implant & External Equipment Warranties) ,

Cochlear Implant Warranty . ee Sa
The'iniplant is covered. ti a cen (1G):year warranty, MED-EL. shall provide a new: implant free-of-charge f the -tmplant falls due-co mechanical or
electrical defect caused by MED-EL, but does nét cover costs associated with implantation. MED-EL will provide assistance, as needed, in obtalning
insurince coverage for associated costs. MED-EL provides warrancy coverage for the implant under the ‘assumption that recommended surgical

echniquies are followed; deviation friotn-approved labeling Includiig MED-EL recommended surgical: cechwiiques say Jimit.or vold warranty.

External Equipment Warranty —

(Included with purchase of new. implant system) : . .
Provides repair or replacement due to mechanical or electrical defect caused by MED-EL bur not due to theft; loss or accidental damage for speech
processor, coil, bateery packs & Fine Tuner for 3 yéars from date of inital sdmulation for MED-EL cochlear infiptant recipients. =”
A Oire Time Loss and Damage. option is included for patients within the original three years of Manufacturer's Warranty Coverage. Only one claim is
allowed per Implant System. The maximum allowed claim Is one full: unit, 2 urile-conststing of one processor one coll, one battary: pack, one Fine Tuner
and.one cable. An‘original police report or notarized letter rriust be provided to MED-EL before a replacement ’unit can be shipped. The One Time
Loas arid Damage option Is not avallable for additional patient -lts or speech processor systems purchased seperately.

Terms - Manufacturer's External Equipment Warranty
+ Completed Warranty Ragitration Form must be returned to activace the Manufacusrdr's Warranty Coverage, ¢

* Warranty void if equipment found to have beens : . . . “
(). subjected to physical of electrical ébuse, riilsuse or negligence; 2} repaired.or aftered-other:chan by MED-EL service-personnal: or 3) operated fn afiy-manner
Inconsisnerit With-the applicable MED-EL instrucdons for use, :

* Owner will be billed for cost of replacement equipment If damage is related to conditions that void warranty coverage or are not due te mechanical or electrical
defect caused by MED-EL

* The Manufacturer's Warranty dace for speech processor systems is defined by the initial stimwlation date for pew purchaser; replacements fall within the active
warranty dates for the original purchase. “ Co '

- + Lost products autotvatially become the property of the company upon the date of foss,and warranty coverage ceases as of thar date.
: ~

 

[Sections 3 and 3 are optional Service Contracts which may be purchased in addition to o following the Manufacturers Warranty |
9 EXTENDED SERVICE CONTRACT oe -

Provider repair or replacement due to mechanical or electrical defect-caused by MED-EL but riog duie to theft,loss or accidental damage for
speech processor, coil & battery packs. May.be purchased upon expiration of the Manufacturer's Warranty, for a period of [-3 years, as.desired.

Pricing for OPUS systems Pricing for TEMPO+ Systems.
I year. ee eka $840 | year. wees rebenee weer ee 8800
DY@APS. ace e eee wires. $1,460 DYCANS. ce ceee renee eee PE39O
B years co. lececeeees vaees $1,950 3-years:..... bee e eee slhdes $1,855

Terms = Extended Service Coritract
+ MED-EL’s Extended Service, Coritract is, In no way a substitute for existing coverage under 2 separate health insurance or hoivie owners policy: please chéck existing
Jratirance to detarmine if repair or replacement are covered, . ; a a -
* MED-EL Service Contract will be sctivatad.upon- receipt of payment for particular coverage chosen. Owner must identify systern(s) selected for ‘coverage (by serialized
components and implanted side) ut thie ime addidonal Service Contract coverage is purchased. ae ,

* Service Contract void lf eqidpment found to have been: / . oy
1} subjected tn’ physleal or electrical abuse; nilsuse or negli 2) repaired or altered other than by MEDLEL service.personnel; or 3) operated In any manner

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inconsistent with the applicable-MED-EL instructions for use, . oe
+ Qwner will be billed for cost of raplacerneric equipment if damage is not due-to mechanical of electrical defer caused by MED-EL.

« Continuous coverage is required for the Extended Service Contract In order to hanor repalrs/repl: ded for your system; sny lapse in coverage will raquire
a payment of a relistatement fee for each, year of lapsed-coverage. In the avant.of coverage lapse, a Relistitement. Inspection Form confirming the equipment is In
_good working condition is required. This inspection MUST be completed by the user's ‘cochlear implant audiologist only: soe

 

       

MEDSEL

NS OWNER ETOCS

 

For additional Information, call Toll Free (88) MED-EL Ci (633-3524) Lecal/TDD (919) 572-2222
BSN _US ServiceConmactOptions Rav 3.0 S70/2008 Le . -
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* Medical Electronics

CLIENT BILL OF RIGHTS AND RESPONSIBILITIES

MED-El. clients have a right to be notified. in, writing .of their rights.and obligations. The client's family,
with the: client's permission, or guardian may: exercise the.client's rights when the-client has been
judged incompetent or is a minor. MED-El,.has an obligation to protect and. promote the rights of its

client's to care, treat and provide services within MED-EL's.capability and mission, and in compliance
with applicable laws, regulations and standards including the.following. rights. —

 

e Betreated, and have your property treated, with dignity, courtesy and respect, recognizing that
each person is a.unique individual.

e Have relationships with MED-EL. that are based on honesty and ethical standards of conduct.

¢ Be fully informed. of MED-EL’s policies and procedures for receiving, reviewing. and resolving
your complaints or concerns about your device.

e Receive complete explanations of charges for equipment, including eligibility for third-party
reimbursement, and charges for which you may be responsible.

* Receive quality services and equipment that. meet or exceed professional and industry
standards regardless of race, religion, political belief, sex, social or economic status, age, or
disability. .

e Receive instructions on safe and @ffective operation of equipment and your responsibilities
regarding care of the equipment. oS oO

° Confidentiality of all your records.

e Review information about to whom and when your personal health. information was disclosed,
as permitted under applicable law and.as specified in MED-EL’s policies and procedures.

e Express dissatisfaction and to suggest changes without discrimination, reprisal or
unreasonabie interruption of services.

¢ Be advised of the telephone number and hours of operation of MED-EL.
e Receive information in a manner and/or language that you understand.

e Have family members, as appropriate and allowed by law, with your permission or permission
of your surrogate decision maker, involved in service decisions.

 

MED-EL CORPORATION 2511 OLD CORNWALUS RD, SUITE 100 DURHAM, NORTH CAROLINA 27713 USA
/ TOLL FREE 4-888-MED-EL Cl (633-3524) V/TDD/ PHONE (919) 572-2222 / FAX (919) 484-9225
| E-MAIL: implants@medelus.com / www.medel.com

 

 
 

 

 

 

 

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CLIENT BILL OF RIGHTS AND RESPONSIBILITES (continued)

 

RESPONSIBILITIES:

e You have the responsibility to:

o Adhere to MED-EL’s policies and procedurés.

o Provide, to the:best of your knowledge; accurate and complete medical and personal
information nécéssary for MED-EL to:provide services.

o Ask quéstions:about your services; ‘or to have: elatified any instructions provided by

. MED-EL's'represéntatives.

o Communicate any information, concerns andior questions related to your device.

o Treat MED-EL personnel with respect and dignity without: disciimination.

o Care for and safely use equipment, according to instructions provided, for the
purpose it was intended and for the clierit:for. whom it was provided.

o Except where contrary to federal or state. law, you are responsible for charges which
your insurance does not pay. You are. responsible for prompt settlement in full of
‘your ‘aceount.unless prior arrangements’ have been approved by. MED-EL’s
administration.

© Notify MED-EL immediately: of any address. or telephone changes whether
temporary or permanent.

CLIENT INFORMATION:

 

3G: An on call service is available for after hour's ‘calls. Please call 1-888-633-3524.

° Complaint Procedure:

o. You have the right and responsibility to express concems, dissatisfaction or make
complaints about products and/or services you do or do not receive without fear or
reprisal, discrimination or unreasonable interruption of services. MED-EL's phone
number jis 1-888-633-3524. When you call,.ask to speak with the customer service
representative servicing your area.

o For product related grievances, ‘MED-EL has a Qrievance procedure that ensures
‘thiat your concerns shall'be reviewed and an investigation started within'48 hours.
Every attempt shall be made to tesolve all product. related grievances within 14
days. —

 

 
